Case 4:25-cv-01602    Document 1-1   Filed on 04/07/25 in TXSD   Page 1 of 9

                     2025-20441 / Court: 234




                                             EXHIBIT
                                                 A
Case 4:25-cv-01602   Document 1-1   Filed on 04/07/25 in TXSD   Page 2 of 9
Case 4:25-cv-01602   Document 1-1   Filed on 04/07/25 in TXSD   Page 3 of 9
Case 4:25-cv-01602   Document 1-1   Filed on 04/07/25 in TXSD   Page 4 of 9
Case 4:25-cv-01602   Document 1-1   Filed on 04/07/25 in TXSD   Page 5 of 9
Case 4:25-cv-01602   Document 1-1   Filed on 04/07/25 in TXSD   Page 6 of 9
Case 4:25-cv-01602   Document 1-1   Filed on 04/07/25 in TXSD   Page 7 of 9
Case 4:25-cv-01602   Document 1-1   Filed on 04/07/25 in TXSD   Page 8 of 9
Case 4:25-cv-01602   Document 1-1   Filed on 04/07/25 in TXSD   Page 9 of 9
